     Case 2:17-cv-00871-AB-SS Document 144 Filed 10/19/18 Page 1 of 3 Page ID #:1449




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5
      Attorneys for Plaintiffs
6     Thunder Studios, Inc. and Rodric David
7
                                  UNITED STATES DISTRICT COURT
8
9                               CENTRAL DISTRICT OF CALIFORNIA

10    THUNDER STUDIOS, INC.;                      CASE NO.: 2:17-cv-00871 AB (SSx)
11    RODRIC DAVID,
                                                  JOINT STATUS REPORT
12                     Plaintiffs,                REGARDING SETTLEMENT
13           v.
                                                  Date:    December 4, 2018
14                                                Time:    8:30 a.m.
                                                  Judge:   Hon. Andre Birotte, Jr.
15    CHARIF KAZAL; TONY KAZAL;                   Ctrm.:   7B
      ADAM KAZAL; AND DOES 1 TO
16
      100, INCLUSIVE,
17
                      Defendants.
18
19           Pursuant to the Court’s Order re Jury/Court Trial, Plaintiffs Thunder Studios, Inc.
20    and Rodric David (collectively, “Plaintiffs”) and Defendants Charif Kazal, Tony Kazal,
21    and Adam Kazal (collectively, “Defendants”) respectfully submit their Joint Status
22    Report Regarding Settlement.
23           On October 8, 2018, Plaintiffs and Defendants participated in a Mediation before
24    Panel Mediator Greg Derin. The Mediation was unsuccessful. The parties do not believe
25    that further discussions will be productive, and not request any help from the Court with
26    regard to settlement negotiations.
27
28
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      _____________________________________________________________________
      Joint Status Report Regarding Settlement
     Case 2:17-cv-00871-AB-SS Document 144 Filed 10/19/18 Page 2 of 3 Page ID #:1450




1     Dated: October 19, 2018             LAW OFFICES OF SETH W. WIENER
2
3                                                By: _____________________________
                                                 Seth W. Wiener
4
                                                 Attorney for Plaintiffs
5                                                THUNDER STUDIOS, INC. and
6                                                RODRIC DAVID

7
      Dated: October 19, 2018             THE TAYLOR LAW FIRM
                                                  /S/
8
                                                 By: _____________________________
9                                                Benjamin Taylor
10                                               Attorney for Defendants
                                                 CHARIF KAZAL, TONY KAZAL, ADAM
11
                                                 KAZAL
12                                   SIGNATURE ATTESTATION
13           I hereby attest that all signatories listed above, on whose behalf this document is
14    submitted, concur in the filing’s content and have authorized the filing.
15    Dated: October 19, 2018             LAW OFFICES OF SETH W. WIENER
16
17
18                                               By: _____________________________
                                                 Seth W. Wiener
19                                               Attorney for Plaintiffs
                                                 THUNDER STUDIOS, INC.; RODRIC DAVID
20
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      _____________________________________________________________________
      Joint Status Report Regarding Settlement
     Case 2:17-cv-00871-AB-SS Document 144 Filed 10/19/18 Page 3 of 3 Page ID #:1451




1
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6     Attorneys for Plaintiffs
7     Thunder Studios, Inc. and Rodric David
8                                 UNITED STATES DISTRICT COURT
9
                                CENTRAL DISTRICT OF CALIFORNIA
10
11    THUNDER STUDIOS, INC.;                         CASE NO.: 2:17-cv-00871 AB (SSx)
      RODRIC DAVID,
12                                                   PROOF OF SERVICE
13                     Plaintiffs,
14    v.
15
      CHARIF KAZAL; TONY KAZAL;
16
      ADAM KAZAL; AND DOES 1 TO
17    100, INCLUSIVE,
18
                      Defendants.
19    I, Seth W. Wiener, declare:
             I am employed in Contra Costa County, California. I am over eighteen years of
20    age and not a party to this action. My business address is 609 Karina Court, San Ramon,
      CA 94582. On October 19, 2018, I served a true and correct copy of the following
21    document(s):
             JOINT STATUS REPORT REGARDING SETTLEMENT
22    X ELECTRONIC MAIL: I caused a true and correct copy thereof to be sent via
      electronic mail to Defendants’ attorney, Benjamin Taylor, at the following email
23    addresses: btaylor@taylorlawfirmpc.com
      I declare under penalty of perjury under the laws of the United States of America that the
24    foregoing is true and correct and that this Proof of Service was executed on October 19,
      2018, at San Ramon, California.
25
26
27                                               By: _____________________________
28                                               Seth W. Wiener
                                        -3-
      _____________________________________________________________________
      Joint Status Report Regarding Settlement
